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 5

 6                              UNITED STATES DISTRICT COURT
                               [NORTHERN] DISTRICT OF NEVADA
 7

 8   DREW RIBAR,
                                       Plaintiff,             Case No. 3:24-cv-00526
 9          v.
10   WASHOE COUNTY, NEVADA; WASHOE
     COUNTY LIBRARY SYSTEM; BUILD OUR
11   CENTER, INC.; JEFF SCOTT; STACY
     MCKENZIE; JONNICA BOWEN; LIBRARY                              DEFENDANT
12   EMPLOYEE DOE # 1; JENNIFER COLE;                          BUILD OUR CENTER’S
     DEPUTY C. ROTHKIN (Badge No. 4696);                      MOTION FOR LIMITED
13   DEPUTY R. SAPIDA (Badge No. 4663);                    PROTECTIVE ORDER TO STAY
     SGT. GEORGE GOMEZ (Badge No. 4066);                   DISCOVERY AS TO BUILD OUR
14   and JOHN/JANE DOES 1-10;                                        CENTER
15                                     Defendants.
16

17          Defendant BUILD OUR CENTER INC., by and through its undersigned

18   counsel, respectfully requests the Court impose a limited stay of discovery in this

19   proceeding pending disposition of its Motion to Dismiss (the “Motion to Dismiss”)

20   (filed herein on December 30, 2025), incorporated in its entirety herein.

21          This Motion for Limited Protective Order to Stay Discovery as to Build Our

22   Center (“Motion to Stay”) is made and based upon all pleadings and records on

23   file herein, the Declaration of Stacy Spain which is attached hereto as Exhibit 1

24   and the Declaration of Alison R. Kertis, Esq. which is attached hereto as Exhibit

25   2 together with every exhibit attached hereto (each of which is incorporated

26   herein by this reference), as well as the points and authorities set forth directly

27   below.

28   ///

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 1                                 PRELIMINARY STATEMENT

 2          Build Our Center does not have the financial resources to litigate a lawsuit

 3   or defend itself in an onslaught of discovery that will, most certainly, be

 4   propounded by Plaintiff Drew Ribar. Declaration of Stacey Spain (“Dec-SS”),

 5   attached hereto as Exhibit 1, at ¶ 7; Declaration of Alison R. Kertis (“Dec-ARK”)

 6   attached hereto as Exhibit 2, at ¶ 5) Additionally, because Mr. Ribar’s Complaint

 7   is wholly deficient as to its factual allegations against Build Our Center and

 8   contains no claims upon which relief may be granted, Mr. Ribar cannot, as a

 9   matter of law, propound discovery under FRCP 26, which requires discovery

10   requests to be relevant and proportional to the needs of the case. Nothing is

11   relevant or proportional to the needs of Mr. Ribar’s case because he has failed to

12   articulate any causes of action against Build Our Center. Respectfully, therefore,

13   Build Our Center requests the Court enter a limited protective order granting a

14   stay of discovery as to Build Our Center pending the Court’s adjudication of

15   Build Our Center’s Motion to Dismiss.

16                      PROCEDURAL AND FACTUAL BACKGROUND

17          Build Our Center is a small Nevada nonprofit that was founded in 2009

18   when locals started fundraising to establish a LGBTQIA+ community center in

19   Reno, Nevada, to support a variety of programs for LGBTQIA+ locals. (Dec-SS at

20   ¶ 5.) Currently, in addition to maintaining the community center, it provides a

21   full calendar of community meetings and events, offers drug and alcohol

22   prevention, recovery, and mental health services, and hosts the yearly Northern

23   Nevada Pride Festival as well as a variety of other programs and events (such as

24   Senior Coffee Time, Out and Sober AA meetings, Women Encouraging Women

25   (Al-Anon), Queer Student Union, Knit Happens, and a book and writing club).

26   (Dec-SS at ¶ 6.) Consequently, most of its financial resources are earmarked

27   from grants to fund its mental health and dependency programs. (Dec-SS at ¶

28   8.) At present, counsel for Build Our Center is representing Build Our Center on

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 1   a reduced rate/pro-bono basis. (Dec-ARK at ¶ 6.) But, even with the reduced

 2   rate/pro-bono representation, resources for attorneys’ time and costs of suit

 3   cannot compete with the very likely onslaught of heavy motion practice that will

 4   be lodged by Mr. Ribar, especially when he has failed to articulate any claims for

 5   relief against Build Our Center. (Dec-SS at ¶ 10; Dec-ARK at ¶ 7.)

 6          Mr. Ribar filed a Complaint against Build Our Center and Washoe County,

 7   Nevada, Washoe County Library System, Jeff Scott, Stacy Mckenzie, Jonnica

 8   Bowen, Jennifer Cole, Deputy C. Rothkin, Deputy Sapida, and Sgt. Goerge

 9   Gomez (the “Government Defendants”) on November 20, 2024. (ECF 2.) In it, Mr.

10   Ribar asserts that he is an “independent journalist” filing to “redress violations

11   of his constitutional rights, including the First, Fourth, and Fourteenth

12   Amendments.” (ECF 2, Complaint at 1:22-24.) Allegedly, “Defendants unlawfully

13   restricted Plaintiff’s access to public library spaces, retaliated against him for

14   engaging in First Amendment activities, imposed unconstitutional restrictions,

15   improperly demanded his identification without reasonable suspicion, and failed

16   to provide procedural safeguards, resulting in harm.” Id. at 1:25-2:3.

17   Purportedly, over the course of a year or so, Mr. Ribar was allegedly, among other

18   things, denied access to the Library’s Drag Queen Story Hour, assaulted by a

19   Library employee, blocked from the Library’s social media page, “barred from

20   accessing library services for one year without notice or an opportunity to contest

21   the restriction,” and required to show identification. Id. at 4:25-6:10.

22          How exactly Build Our Center acted in joint participation with the other

23   named Defendants is unclear. Equally unclear is why – despite having no valid

24   claims against Build Our Center – Mr. Ribar believes he is entitled to any

25   damages from Build Our Center (he is not) or why he believes Build Our Center

26   is a state actor (it is not). Therefore, on December 30, 2024, Build Our Center

27   filed its Motion to Dismiss (ECF 37) arguing: (1) Mr. Ribar’s Complaint should be

28   dismissed for failure to state a claim upon which relief can be granted; and (2)

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 1   Mr. Ribar’s Complaint fails to allege facts that Build Our Center is a state actor

 2   to substantiate his claims against it under 42 U.S.C. § 1983. Mr. Ribar filed his

 3   Opposition to Motion to Dismiss (ECF 43) on January 8, 2025. Build Our Center

 4   filed its Reply in Support of Motion to Dismiss on January 9, 2025, arguing that

 5   Mr. Ribar’s Complaint has failed to cure the fatal defects of his purported causes

 6   of action against Build Our Center. Mr. Ribar can point to no specific facts to

 7   support a cognizable legal theory against Build Our Center. Balistreri v. Pacifica

 8   Polic Dep’t, 901 F.2d 696, 699 (9th Cir. 1988).

 9          Prior to Build Our Center’s appearance in this matter, Mr. Ribar and the

10   Government Defendants jointly agreed to a discovery schedule. (ECF 31.) The

11   Government Defendants served their initial disclosures on December 30, 2024,

12   and supplemental disclosures on January 3, 2025. Build Our Center agreed with

13   Mr. Ribar to serve initial disclosures on January 12, 2025. Build Our Center

14   served its initial disclosures on January 10, 2025. As of the filing of this motion,

15   Mr. Ribar has not served his initial disclosures.

16          Counsel for Build Our Center conducted a Zoom Meet and Confer with Mr.

17   Ribar on January 9, 2025, but the two were unable to come to agreement on a

18   limited stay of discovery. (Dec-ARK at ¶ 8.)

19                                  POINTS AND AUTHORITIES

20    I.    LEGAL STANDARD

21          Although the “Federal Rules of Civil Procedure do not provide for automatic

22   blanket stays of discovery when a potentially dispositive motion is pending,” a

23   district court “may enter a protective order staying discovery when a motion to

24   dismiss for failure to state a claim on which relief may be granted is pending if

25   the district court ‘is convinced that the plaintiff will be unable to state a claim

26   for relief.’” Tradebay, LLC v. eBay, Inc., 278 F.R.D. 597, 600 (D. Nev.

27   2011)(quoting Wood v. McEwen, 644 F.2d 797, 801 (9th Cir.1981) (per curiam ));

28   see also FRCP 26(c)(1)(A) and (B) (which permit a court to enter a protective order

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 1   to protect any party or person from “annoyance, embarrassment, oppression, or

 2   undue burden or expense” by “forbidding the disclosure or discovery” or

 3   “specifying the terms, including time and place or the allocation of expenses, for

 4   the disclosure of discovery.”)

 5          A court may “stay discovery pending resolution of a potentially dispositive

 6   motion … when: (1) the pending motion is potentially dispositive; (2) the

 7   potentially dispositive motion can be decided without additional discovery; and

 8   (3) the Court has taken a ‘preliminary peek’ at the merits of the potentially

 9   dispositive motion and is convinced that the plaintiff will be unable to state a

10   claim for relief.’” Kor Media Group, LLC v. Green, 294 F.R.D. 579, 581 (D. Nev.

11   2013) (citing Tradebay LLC, 278 F.R.D. at 601-03). “Staying discovery when a

12   court is convinced that the plaintiff will be unable to state a claim for relief

13   furthers the goal of efficiency for the court and the litigants.” Tradebay, 278

14   F.R.D. at 600.

15   II.    LEGAL ARGUMENT

16          Under the circumstances, justice requires a stay of discovery until the

17   Court adjudicates Build Our Center’s Motion to Dismiss. A protective order

18   granting a stay of discovery as to Build Our Center is necessary to effectuate an

19   efficient discovery process instead of permitting Plaintiff to engage in a fishing

20   expedition and conduct discovery with no boundaries or limitations. Simply put,

21   it is improper for Mr. Ribar to put the cart before the horse and engage in

22   discovery before he has factually articulated any claims for relief against Build

23   Our Center.

24          a. There is No Question Build Our Center’s Motion to Dismiss

25              is Dispositive

26          Build Our Center filed its Motion to Dismiss pursuant to FRCP 12(b)(6) on

27   December 30, 2024, as to all claims brought against it by Mr. Ribar which, if

28   granted, will dispose of all claims against Build Our Center. Kor Media Group

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 1   LLC, 294 F.R.D. at 581. The Government Defendants have confirmed they will

 2   not oppose this Motion to Stay as this lawsuit solely concerns Mr. Ribar’s

 3   complaints against the Government Defendants. See January 7, 2025, email

 4   from Michael Large confirming that the Government Defendants will not oppose

 5   the motion, a true and correct copy of which is attached hereto as Exhibit 3.

 6   Build Our Center’s Motion under FRCP 12(b)(6) is dispositive as to all causes of

 7   action against Build Our Center. Therefore, the first factor articulated by the

 8   court in Kor Media Group is met.

 9          b. Build Our Center’s Motion to Dismiss Can Be Decided

10              Without Additional Discovery

11          Mr. Ribar’s Complaint is facially deficient and there is no need to conduct

12   discovery. Even a cursory review of his Complaint shows that he has not stated

13   a viable cause of action against Build Our Center. There is no need to conduct

14   discovery to determine that Mr. Ribar’s Complaint is fatally flawed. “In

15   considering a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),

16   the court asks only whether the pleadings are sufficient to establish a claim, not

17   whether the Plaintiff could find evidence to support the pleadings.” Tracy v.

18   United States, 243 F.R.D. 662, 664 (D.Nev.2007); (citing Lee v. City of Los

19   Angeles, 250 F.3d 668, 688 (9th Cir.2001)). Build Our Center’s Motion to

20   Dismiss is based on an analysis of the face of Mr. Ribar’s Complaint. It is not

21   necessary to conduct discovery for the Court to determine that Mr. Ribar’s

22   Complaint should be dismissed for failure to state a claim upon which relief can

23   be granted.

24          c. If the Court Takes a Preliminary “Peek” at Build Our Center’s

25              Motion to Dismiss, it Will See Mr. Ribar’s Complaint is

26              Fatally Flawed.

27          “A stay of all discovery should only be ordered if the court is convinced

28   that a plaintiff will be unable to state a claim for relief.” Tradebay, 278 F.R.D. at

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 1   603. Upon review of Plaintiff’s Complaint and the briefing as to Build Our

 2   Center’s Motion to Dismiss, the Court will be convinced that Mr. Ribar’s

 3   Complaint is fatally flawed and should be dismissed as to Build Our Center.

 4   There is no question that Build Our Center will prevail in its Motion to Dismiss;

 5   “discovery is a waste of effort.” Kor Media Group, 294 F.R.D. at 583. A stay is

 6   appropriate, as is the case here, when a “complaint [is] utterly frivolous, or filed

 7   merely for settlement value.” Turner Broadcasting Sys., Inc. v. Tracinda Corp.,

 8   175 F.R.D. 554, 556 (D.Nev.1997).

 9          Mr. Ribar’s Complaint fails on its face and contains no “short and plain

10   statement of the claim showing that the pleader is entitled to relief,” nor does it

11   contain “sufficient facts which, if accepted as true, will state a claim of relief that

12   is plausible on its face.” FRCP 8(a)(2); FRCP 12(b)(6). As set forth in Build Our

13   Center’s Motion to Dismiss, Mr. Ribar’s Complaint is conclusory and fails to set

14   forth any facts as to the basic circumstances of how Build Our Center allegedly

15   harmed Mr. Ribar. Clegg v. Cult Awareness Network, 18 F.3d 752, 754–55 (9th

16   Cir. 1994) (A court is not required to accept legal conclusions cast in the form of

17   factual allegations if those conclusions cannot reasonably be drawn from the

18   facts alleged.) There is no question that Mr. Ribar’s Complaint does not meet

19   even the most basic requirements under FRCP 8(a)(2) to survive a FRCP 12(b)(6)

20   motion.

21          d. Any Discovery Mr. Ribar Propounds Will Not Be Relevant or

22              Proportional to the Needs of the Case Under FRCP 26(b) as

23              Mr. Ribar Has Not Stated Facts to Support a Cognizable Legal

24              Theory

25          Mr. Ribar’s complaint contains no facts to establish any cognizable legal

26   theory against Build Our Center. Build Our Center needs some factual

27   scaffolding to meaningfully participate in discovery. At present, Build Our Center

28   cannot determine from the face of the Complaint how it purportedly denied him

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 1   access to the Library’s Drag Queen Story Hour, assaulted him (Mr. Ribar’s

 2   Complaint alleges this was done by a Library employee), blocked him from the

 3   Library’s social media page, or “barred from accessing library services for one

 4   year without notice or an opportunity to contest the restriction.” These

 5   allegations are directed at the Government Defendants. FRCP 26(b) states parties

 6   may obtain discovery “that is relevant to any party’s claim or defense and

 7   proportional to the needs of the case” – but to be relevant and proportional to

 8   the needs of the case, Mr. Ribar is required to first articulate the factual

 9   allegations to state a cause of action against Build Our Center. At this point,

10   because the Complaint has no factual allegations to state a claim for relief

11   against Build Our Center, it would be not only inefficient but wholly prejudicial

12   to Build Our Center to expect it to participate in discovery.

13              a. Build Our Center is Nonprofit and Counsel is Representing

14                  it on a Reduced/Pro-Bono Rate

15          Justice requires entry of a protective order to stay discovery because

16   engaging in a free-for all discovery with no boundaries or limitations would

17   significantly prejudice Build Our Center and its financial resources. Build Our

18   Center obtains most of its finances through grants, which are specifically ear-

19   marked to provide its mental health and dependency programs. (Dec-SS at ¶¶ 8-

20   9.) Build Our Center has little to no resources with which to fund a meritless

21   litigation. It would be unjust and prejudicial to require Build Our Center to

22   expend its limited financial resources to defend against Plaintiff’s limitless

23   fishing expedition. (Dec-SS at ¶¶ 7, 10.) Further, although counsel is

24   representing Build Our Center pro bono, and her support staff at a reduced rate,

25   counsel’s own time and resources are not unlimited. (Dec-ARK at ¶¶ 9.)

26          Responding to any discovery by Plaintiff would be an utter waste of the

27   limited financial resources Build Our Center has and would permit Plaintiff to

28   /././………

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 1   engage in an unsubstantiated and unnecessary fishing expedition against Build

 2   Our Center.

 3                                           CONCLUSION

 4           Therefore, because Build Our Center is unable to defend itself against

 5   claims made by a Plaintiff who is unable to articulate his claims for relief, Build

 6   Our Center respectfully requests that the Court enter a limited protective order

 7   staying discovery as to Build Our Center pending the Court’s adjudication of

 8   Build Our Center’s Motion to Dismiss (ECF 37) filed herein on December 30,

 9   2024.

10           A Proposed Order Granting Build Our Center’s Motion for Limited

11   Protective Order to Stay Discovery as to Build Our Center is attached hereto as

12   Exhibit 4.

13                                         CERTIFICATION

14           Build Our Center hereby certifies that the movant has in good faith

15   attempted to confer with Plaintiff Drew Ribar to resolve this dispute without

16   court action. FRCP 26. In addition to emails, Counsel for Build Our Center

17   conducted a Meet-and-Confer with Mr. Ribar via Zoom on January 9, 2025, but

18   the two were unable to come to agreement on a limited stay of discovery. (Dec-

19   ARK at ¶ 8.)

20           DATED January 10, 2025.            SIERRA CREST BUSINESS LAW GROUP

21
                                          By: ___________________________________________
22                                            Jerry C. Carter, Esq. (NSB 5905)
                                              jcarter@sierracrestlaw.com
23                                            Alison R. Kertis, Esq. (NSB 38???)
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 1                                     CERTIFICATE OF SERVICE

 2          I certify that I am an employee of the SIERRA CREST BUSINESS LAW

 3   GROUP who, on the below-written date, caused a true copy of the foregoing to

 4   be transmitted via email and also to be filed using the above-entitled Court’s
 5   electronic filing (CM/ECF) system which will automatically e-serve the same) on
 6   the person(s) and/or entity(ies) set forth directly below:
 7
            Drew Ribar
 8          480 Pershing Lane, Washoe Valley, NV 89704
            (775) 223-7899
 9          const2audit@gmail.com
            Plaintiff in propria persona
10
            Michael W. Large, Esq.
11
            DEPUTY DISTRICT ATTORNEY
12
            One South Sierra Street Reno, NV 89501
            mlarge@da.washoecounty.gov
13          (775) 337-5700
            Counsel for Plaintiffs Washoe County and its Library
14          System, Jeff Scott, Stacy Mckenzie, Jonnica Bowen,
            Jennifer Cole; Deputy C. Rothkin, Deputy R. Sapida,
15          and Sgt. George Gomez

16
            DATED: January 10, 2025.
17
                                                   ________________________________________
18                                                            an employee of the
                                                   SIERRA CREST BUSINESS LAW GROUP
19

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 1                                      INDEX OF EXHIBITS
 2                                                  to
 3                         DEFENDANT BUILD OUR CENTER’S
                       MOTION FOR LIMITED PROTECTIVE ORDER TO
 4                     STAY DISCOVERY AS TO BUILD OUR CENTER
 5                                                  re
 6                               Ribar vs. Washoe County, et alia
                                    (Case No. 3:24-cv-00526)
 7

 8   Exhibit                                                                               Pages
       No.                              Exhibit Description                                  (+
 9                                                                                         Cover)
        1.      Declaration of Stacey Spain                                                  4
10      2.      Declaration of Alison R. Kertis, Esq.                                        3
11      3.      Email from Michael Large                                                     3
        4.      Proposed Order                                                                ?
12

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